THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,
/ 3:4 7-CR-258
v. : (JUDGE MARIANI)
LARRY GILLIAM,
Defendant.

ORDER

 

AND NOW, THIS ah DAY OF AUGUST 2020, upon consideration of
Defendant Larry Gilliam’s Motion to Suppress Physical Evidence (Doc. 36) and all relevant
documents, for the reasons set forth in the Court’s simultaneously filed Memorandum
Opinion, IT IS HEREBY ORDERED THAT:

1. Defendant Larry Gilliam’s Motion to Suppress Physical Evidence (Doc. 36) is

GRANTED;

2. All evidence obtained by law enforcement from 374 North Main Street, Wilkes-Barre,

Pennsylvania, on July 21, 2017, and July 22, 2017, is suppressed.

 
   

Robert D- Mariani
United States District Judge
